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U.S. Department of Justice
The Special Counsel's Office

Washington, D.C. 20530

November 30, 2017
Robert K. Kelner
Stephen P. Anthony
Covington & Burling LLP F I L E D
One CityCenter, 850 Tenth Street, NW D
Washington, DC 20001-4956 EC & i 2017
Clerk, U.S. Distri
Re: United States v. Michael T. Flynn Bankruptcy Comte’

Dear Counsel:

This letter sets forth the full and complete plea offer to your client, Lieutenant General
Michael T. Flynn (Ret.) (hereinafter referred to as “your client” or “defendant”), from the
Special Counsel’s Office (hereinafter also referred to as “the Government” or “this Office”). If
your client accepts the terms and conditions of this offer, please have your client execute this
document in the space provided below. Upon receipt of the executed document, this letter will
become the Plea Agreement (hereinafter referred to as “this Agreement”). The terms of the offer
are as follows:

1, Charges and Statutory Penalties

Your client agrees to plead guilty to the Criminal Information, a copy of which is
attached, charging your client with making false statements to the Federal Bureau of
Investigation in violation of 18 U.S.C. § 1001.

Your client understands that a violation of 18 U.S.C. § 1001 carries a maximum sentence
of 5 years’ imprisonment; a fine of $250,000, pursuant to 18 U.S.C. § 3571(b)(3); a term of
supervised release of not more than 3 years, pursuant to 18 U.S.C. § 3583(b)(2); and an
obligation to pay any applicable interest or penalties on fines and restitution not timely made.

In addition, your client agrees to pay a special assessment of $100 per felony conviction
to the Clerk of the United States District Court for the District of Columbia. Your client also
understands that, pursuant to 18 U.S.C. § 3572 and § 5E1.2 of the United States Sentencing
Guidelines, Guidelines Manual (2016) (hereinafter “Sentencing Guidelines,” “Guidelines,” or
“U.S.S.G.”), the Court may also impose a fine that is sufficient to pay the federal government the
costs of any imprisonment, term of supervised release, and period of probation.

2. Factual Stipulations

Your client agrees that the attached “Statement of the Offense” fairly and accurately
describes your client’s actions and involvement in the offense to which your client is pleading

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guilty. Please have your client sign and return the Statement of the Offense as a written proffer
of evidence, along with this Agreement.

3. Additional Charges

In consideration of your client’s guilty plea to the above offense, your client will not be
further prosecuted criminally by this Office for the conduct set forth in the attached Statement of

the Offense.

4. Sentencing Guidelines Analysis

Your client understands that the sentence in this case will be determined by the Court,
pursuant to the factors set forth in 18 U.S.C. § 3553(a), including a consideration of the
applicable guidelines and policies set forth in the Sentencing Guidelines. Pursuant to Federal
Rule of Criminal Procedure 11(c)(1)(B), and to assist the Court in determining the appropriate
sentence, the parties agree to the following:

A. Estimated Offense Level Under the Guidelines
The parties agree that the following Sentencing Guidelines sections apply:
U.S.S.G. §2B1.1(a)(2) Base Offense Level: 6

Total: 6

B. Acceptance of Responsibility

The Government agrees that a 2-level reduction will be appropriate, pursuant to U.S.S.G.
§ 3E1.1, provided that your client clearly demonstrates acceptance of responsibility, to the
satisfaction of the Government, through your client’s allocution, adherence to every provision of
this Agreement, and conduct between entry of the plea and imposition of sentence.

Nothing in this Agreement limits the right of the Government to seek denial of the
adjustment for acceptance of responsibility, pursuant to U.S.S.G. § 3E1.1, and/or imposition of
an adjustment for obstruction of justice, pursuant to U.S.S.G. § 3C1.1, regardless of any
agreement set forth above, should your client move to withdraw your client’s guilty plea after it
is entered, or should it be determined by the Government that your client has either (a) engaged
in conduct, unknown to the Government at the time of the signing of this Agreement, that
constitutes obstruction of justice, or (b) engaged in additional criminal conduct after signing this
Agreement.

In accordance with the above, the applicable Guidelines Offense Level will be at least 4.

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Cc, Estimated Criminal History Category

Based upon the information now available to this Office, your client has no criminal
convictions.

Accordingly, your client is estimated to have zero criminal history points and your
client’s Criminal History Category is estimated to be I. Your client acknowledges that if
additional convictions are discovered during the pre-sentence investigation by the United States
Probation Office, your client’s criminal history points may increase.

D. Estimated Applicable Guidelines Range

Based upon the agreed total offense level and the estimated criminal history category set
forth above, your client’s estimated Sentencing Guidelines range is zero months to six months’
imprisonment (the “Estimated Guidelines Range”). In addition, the parties agree that, pursuant
to U.S.S.G. § 5E1.2, should the Court impose a fine, at Guidelines level 4, the estimated
applicabie fine range is $500 to $9,500. Your client reserves the right to ask the Court not to
impose any applicable fine.

The parties agree that, solely for the purposes of calculating the applicable range under
the Sentencing Guidelines, neither a downward nor upward departure from the Estimated
Guidelines Range set forth above is warranted, subject to the paragraphs regarding cooperation
below. Accordingly, neither party will seek any departure or adjustment to the Estimated
Guidelines Range, nor will either party suggest that the Court consider such a departure or
adjustment, except as provided in the preceding sentence. Moreover, your client understands and
acknowledges that the Estimated Guidelines Range agreed to by the parties is not binding on the
Probation Office or the Court. Should the Court determine that a different guidelines range is
applicable, your client will not be permitted to withdraw his guilty plea on that basis, and the
Government and your client will still be bound by this Agreement.

Your client understands and acknowledges that the terms of this section apply only to
conduct that occurred before the execution of this Agreement. Should your client commit any
conduct after the execution of this Agreement that would form the basis for an increase in your
client’s base offense level or justify an upward departure (examples of which include, but are not
limited to, obstruction of justice, failure to appear for a court proceeding, criminal conduct while
pending sentencing, and false statements to law enforcement agents, the probation officer, or the
Court), the Government is free under this Agreement to seek an increase in the base offense level
based on that post-agreement conduct.

5, Agreement as to Sentencing Allocution

Based upon the information known to the Government at the time of the signing of this
Agreement, the parties further agree that a sentence within the Estimated Guidelines Range

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would constitute a reasonable sentence in light of all of the factors set forth in 18 U.S.C. §
3553(a), should such a sentence be subject to appellate review notwithstanding the appeal waiver
provided below.

6. Reservation of Allocution

The Government and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and seriousness of your client’s misconduct,
including any misconduct not described in the charges to which your client is pleading guilty.

The parties also reserve the right to inform the presentence report writer and the Court of
any relevant facts, 10 dispute any factual inaccuracies in the presentence report, and to contest
any matters not provided for in this Agreement. In the event that the Court considers any
Sentencing Guidelines adjustments, departures, or calculations different from any agreements
contained in this Agreement, or contemplates a sentence outside the Guidelines range based upon
the general sentencing factors listed in 18 U.S.C. § 3553(a), the parties reserve the right to
answer any related inquiries from the Court. In addition, if in this Agreement the parties have
agreed to recommend or refrain from recommending to the Court a particular resolution of any
sentencing issue, the parties reserve the right to full allocution in any post-sentence litigation.
The parties retain the full right of allocution in connection with any post-sentence motion which
may be filed in this matter and/or any proceeding(s) before the Bureau of Prisons. In addition,
your client acknowledges that the Government is not obligated and currently does not intend to
file any post-sentence downward departure motion in this case pursuant to Rule 35(b) of the
Federal Rules of Criminal Procedure.

7. Court Not Bound by this Agreement or the Sentencing Guidelines

Your client understands that the sentence in this case will be imposed in accordance with
18 U.S.C. § 3553(a), upon consideration of the Sentencing Guidelines. Your client further
understands that the sentence to be imposed is a matter solely within the discretion of the Court.
Your client acknowledges that the Court is not obligated to follow any recommendation of the
Government at the time of sentencing or to grant a downward departure based on your client’s
substantial assistance to the Government, even if the Government files a motion pursuant to
Section 5K1.1 of the Sentencing Guidelines. Your client understands that neither the
Government’s recommendation nor the Sentencing Guidelines are binding on the Court.

Your client acknowledges that your client’s entry of a guilty plea to the charged offense
authorizes the Court to impose any sentence, up to and including the statutory maximum
sentence, which may be greater than the applicable Guidelines range. The Government cannot,
and does not, make any promise or representation as to what sentence your client will receive.
Moreover, it is understood that your client will have no right to withdraw your client’s plea of
guilty should the Court impose a sentence that is outside the Guidelines range or if the Court
does not follow the Government’s sentencing recommendation. The Government and your client
will be bound by this Agreement, regardless of the sentence imposed by the Court. Any effort
by your client to withdraw the guilty plea because of the length of the sentence shall constitute a
breach of this Agreement.

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8. Cooperation

Your client agrees to cooperate with this Office on the following terms and conditions:

(a) Your client shall cooperate fully, truthfully, completely, and forthrightly with this
Office and other Federal, state, and local law enforcement authorities identified by this Office in
any and all matters as to which this Office deems the cooperation relevant. Your client
acknowledges that your client’s cooperation may include, but will not necessarily be limited to:
answering questions; providing sworn written statements; taking government-administered
polygraph examination(s); and participating in covert law enforcement activities. Any refusal by
your client to cooperate fully, truthfully, completely, and forthrightly as directed by this Office
and other Federal, state, and local law enforcement authorities identified by this Office in any
and all matters in which this Office deems your client’s assistance relevant will constitute a
breach of this Agreement by your client, and will relieve this Office of its obligations under this
Agreement, including, but not limited to, its obligation to inform this Court of any assistance
your client has provided. Your client agrees, however, that such breach by your client will not
constitute a basis for withdrawal of your client’s plea of guilty or otherwise relieve your client of
your client’s obligations under this Agreement.

(b) Your client shall promptly turn over to this Office, or other law enforcement
authorities, or direct such law enforcement authorities to, any and all evidence of crimes about
which your client is aware; all contraband and procéeds of such crimes; and all assets traceable
to the proceeds of such crimes. Your client agrees to the forfeiture of all assets which are
proceeds of crimes or traceable to such proceeds of crimes.

(c) Your client shall submit a full and complete accounting of all your client’s
financial assets, whether such assets are in your client’s name or in the name of a third party.

(d) Your client acknowledges and understands that, during the course of the
cooperation outlined in this Agreement, your client will be interviewed by law enforcement
agents and/or Government attorneys. Your client waives any right to have counsel present
during these interviews and agrees to meet with law enforcement agents and Government
attorneys outside of the presence of counsel. If, at some future point, you or your client desire to
have counsel present during interviews by law enforcement agents and/or Government attorneys,
and you communicate this decision in writing to this Office, this Office will honor this request,
and this change will have no effect on any other terms and conditions of this Agreement.

(e) Your client shall testify fully, completely and truthfully before any and all Grand
Juries in the District of Columbia and elsewhere, and at any and all trials of cases or other court
proceedings in the District of Columbia and elsewhere, at which your client’s testimony may be
deemed relevant by the Government.

(f) Your client understands and acknowledges that nothing in this Agreement allows
your client to commit any criminal violation of local, state or federal law during the period of
your client’s cooperation with law enforcement authorities or at any time prior to the sentencing

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in this case. The commission of a criminal offense during the period of your client’s cooperation
or at any time prior to sentencing will constitute a breach of this Agreement and will relieve the
Government of all of its obligations under this Agreement, including, but not limited to, its
obligation to inform this Court of any assistance your client has provided. However, your client
withdraw your client’s plea of guilty or relieve your client of the obligations under this
Agreement.

(g) Your client agrees that the sentencing in this case may be delayed until your
client’s efforts to cooperate have been completed, as determined by the Government, so that the
Court will have the benefit of all relevant information before a sentence is imposed.

9, Waivers
A. Venue

Your client waives any challenge to venue in the District of Columbia.

B. Statute of Limitations

Your client agrees that, should the conviction following your client’s plea of guilty
pursuant to this Agreement be vacated for any reason, any prosecution, based on the conduct set
forth in the attached Statement of the Offense, that is not time-barred by the applicable statute of
limitations on the date of the signing of this Agreement (including any counts that the
Government has agreed not to prosecute or to dismiss at sentencing pursuant to this Agreement)
may be commenced or reinstated against your client, notwithstanding the expiration of the statute
of limitations between the signing of this Agreement and the commencement or reinstatement of
such prosecution. It is the intent of this Agreement to waive all defenses based on the statute of
limitations with respect to any prosecution of conduct set forth in the attached Statement of the
Offense that is not time-barred on the date that this Agreement is signed.

C. Trial Rights

Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution of the United States and/or by statute or rule. Your
client agrees to forgo the right to any further discovery or disclosures of information not already
provided at the time of the entry of your client’s guilty plea. Your client also agrees to waive,
among other rights, the right to be indicted by a Grand Jury, the right to plead not guilty, and the
right to a jury trial. If there were a jury trial, your client would have the right to be represented
by counsel, to confront and cross-examine witnesses against your client, to challenge the
admissibility of evidence offered against your client, to compel witnesses to appear for the
purpose of testifying and presenting other evidence on your client’s behalf, and to choose
whether to testify. If there were a jury trial and your client chose not to testify at that trial, your
client would have the right to have the jury instructed that your client’s failure to testify could
not be held against your client. Your client would further have the right to have the jury
instructed that your client is presumed innocent until proven guilty, and that the burden would be

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on the United States to prove your client’s guilt beyond a reasonable doubt. If your client were
found guilty after a trial, your client would have the right to appeal your client’s conviction.
Your client understands that the Fifth Amendment to the Constitution of the United States
protects your client from the use of compelled self-incriminating statements in a criminal
prosecution. By entering a plea of guilty, your client knowingly and voluntarily waives or gives
up your client’s right against compelled self-incrimination.

Your client acknowledges discussing with you Rule 11(f) of the Federal Rules of
Criminal Procedure and Rule 410 of the Federal Rules of Evidence, which ordinarily limit the
admissibility of statements made by a defendant in the course of plea discussions or plea
proceedings if a guilty plea is later withdrawn. Your client knowingly and voluntarily waives the
rights that arise under these rules in the event your client withdraws your client’s guilty plea or
withdraws from this Agreement after signing it.

Your client also agrees to waive all constitutional and statutory rights to a speedy
sentence and agrees that the plea of guilty pursuant to this Agreement will be entered at a time
decided upon by the parties with the concurrence of the Court. Your client understands that the
date for sentencing will be set by the Court.

D. Appeal Rights

Your client understands that federal law, specifically 18 U.S.C. § 3742, affords
defendants the right to appeal their sentences in certain circumstances. Your client agrees to
waive the right to appeal the sentence in this case, including but not limited to any term of
imprisonment, fine, forfeiture, award of restitution, term or condition of supervised release,
authority of the Court to set conditions of release, and the manner in which the sentence was
determined, except to the extent the Court sentences your client above the statutory maximum or
guidelines range determined by the Court or your client claims that your client received
ineffective assistance of counsel, in which case your client would have the right to appeal the
illegal sentence or above-guidelines sentence or raise on appeal a claim of ineffective assistance
of counsel, but not to raise on appeal other issues regarding the sentencing. In agreeing to this
waiver, your client is aware that your client’s sentence has yet to be determined by the Court.
Realizing the uncertainty in estimating what sentence the Court ultimately will impose, your
client knowingly and willingly waives your client’s right to appeal the sentence, to the extent
noted above, in exchange for the concessions made by the Government in this Agreement.

E. Collateral Attack

Your client also waives any right to challenge the conviction entered or sentence imposed
under this Agreement or otherwise attempt to modify or change the sentence or the manner in
which it was determined in any collateral attack, including, but not limited to, a motion brought
under 28 U.S.C. § 2255 or Federal Rule of Civil Procedure 60(b), except to the extent such a
motion is based on newly discovered evidence or on a claim that your client received ineffective
assistance of counsel. Your client reserves the right to file a motion brought under 18 U.S.C.

§ 3582(c)(2), but agrees to waive the right to appeal the denial of such a motion.

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F. Privacy Act and FOIA Rights

Your client also agrees to waive all rights, whether asserted directly or by a
representative, to request or receive from any department or agency of the United States any
records pertaining to the investigation or prosecution of this case, including and without
limitation any records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552,
or the Privacy Act, 5 U.S.C. § 552a, for the duration of the Special Counsel’s investigation.

10. Restitution

Your client understands that the Court has an obligation to determine whether, and in
what amount, mandatory restitution applies in this case under 18 U.S.C. § 3663A. The
Government and your client agree that mandatory restitution does not apply in this case.

11. Breach of Agreement

Your client understands and agrees that, if after entering this Agreement, your client fails
specifically to perform or to fulfill completely each and every one of your client’s obligations
under this Agreement, or engages in any criminal activity prior to sentencing, your client will
have breached this Agreement. In the event of such a breach: (a) the Government will be free
from its obligations under this Agreement; (b) your client will not have the right to withdraw the
guilty plea; (c) your client will be fully subject to criminal prosecution for any other crimes,
including perjury and obstruction of justice; and (d) the Government will be free to use against
your client, directly and indirectly, in any criminal or civil proceeding, all statements made by
your client and any of the information or materials provided by your client, including such
statements, information, and materials provided pursuant to this Agreement or during the course
of any debriefings conducted in anticipation of, or after entry of, this Agreement, whether or not
the debriefings were previously characterized as “off-the-record” debriefings, and including your
client’s statements made during proceedings before the Court pursuant to Rule 11 of the Federal
Rules of Criminal Procedure.

Your client understands and agrees that the Government shall be required to prove a
breach of this Agreement only by a preponderance of the evidence, except where such breach is
based on a violation of federal, state, or local criminal law, which the Government need prove
only by probable cause in order to establish a breach of this Agreement.

Nothing in this Agreement shall be construed to permit your client to commit perjury, to
make false statements or declarations, to obstruct justice, or to protect your client from
prosecution for any crimes not included within this Agreement or committed by your client after
the execution of this Agreement. Your client understands and agrees that the Government
reserves the right to prosecute your client for any such offenses. Your client further understands
that any perjury, false statements or declarations, or obstruction of justice relating to your client’s
obligations under this Agreement shall constitute a breach of this Agreement. In the event of
such a breach, your client will not be allowed to withdraw your client’s guilty plea.

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12. Govyernment’s Obligations

The Government will bring to the Court’s attention at the time of sentencing the nature
and extent of your client’s cooperation or lack of cooperation. The Government will evaluate the
full nature and extent of your client’s cooperation to determine whether your client has provided
substantial assistance in the investigation or prosecution of another person who has committed an
offense. If the Government determines that your client has provided such substantial assistance,
this Office shall file a departure motion pursuant to Section 5K1.1 of the Sentencing Guidelines,
which would afford your client an opportunity to persuade the Court that your client should be
sentenced to a lesser period of incarceration and/or fine than indicated by the Sentencing
Guidelines. The determination of whether your client has provided substantial assistance
warranting the filing of a motion pursuant to Section 5K1.1 of the Sentencing Guidelines is
within the sole discretion of the Government and is not reviewable by the Court. In the event
your client should fail to perform specifically and fulfill completely each and every one of your
client’s obligations under this Agreement, the Government will be free from its obligations under
this Agreement, and will have no obligation to present your client’s case to the Departure
Guideline Committee or file a departure motion pursuant to Section SK1.1 of the Sentencing

Guidelines.

13. Complete Agreement

No agreements, promises, understandings, or representations have been made by the
parties or their counsel other than those contained in writing herein, nor will any such
agreements, promises, understandings, or representations be made unless committed to writing
and signed by your client, defense counsel, and the Special Counsel’s Office.

Your client further understands that this Agreement is binding only upon the Special
Counsel’s Office. This Agreement does not bind any other United States Attorney’s Office, nor
does it bind any other state, local, or federal prosecutor. It also does not bar or compromise any
civil, tax, or administrative claim pending or that may be made against your client.

If the foregoing terms and conditions are satisfactory, your client may so indicate by
signing this Agreement and the Statement of the Offense, and returning both to me no later than
November 30, 2017.

Sincerely yours,

ROBERT S. MUELLER, III
Special Counsel

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fe VC Xk
a AL Cone
By: “

Braridon L. Van Grack

Zainab N. Ahmad

Senior Assistant Special Counsels
The Special Counsel’s Office

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DEFENDANT’S ACCEPTANCE

I have read every page of this Agreement and have discussed it with my attorneys, Robert
K. Kelner and Stephen P. Anthony. I fully understand this Agreement and agree to it without
reservation. I do this voluntarily and of my own free will, intending to be legally bound. No
threats have been made to me nor am I under the influence of anything that could impede my
ability to understand this Agreement fully. I am pleading guilty because I am in fact guilty of the
offense identified in this Agreement.

I reaffirm that absolutely no promises, agreements, understandings, or conditions have
been made or entered into in connection with my decision to plead guilty except those set forth
in this Agreement. I am satisfied with the legal services provided by my attorneys in connection
with this Agreement and matters related to it.

Date: UlwoNF hz AAgS
' Lieutenant I Michael T. Flynn (Ret.)
Defend

ATTORNEYS’ ACKNOWLEDGMENT

I have read every page of this Agreement, reviewed this Agreement with my client,
Lieutenant General Michael T. Flynn (Ret.), and fully discussed the provisions of this Agreement
with my client. These pages accurately and completely set forth the entire Agreement. I concur
in my client’s desire to plead guilty as set forth in this Agreement.

Robert K. Kelner

Attorney for Defendant

Stephen P. Anthony ~~

Attorney for Defendant

Date: 1 30/14

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